Case 2:13-cv-02289-SHL-dkv Document 1-8 Filed 05/08/13 Page 1of53 PagelD 22

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

DANIEL LOVELACE and
HELEN LOVELACE, Individually, and as Parents of
BRETT LOVELACE, deceased,

Plaintiffs

Vs. No.
JURY TRIAL DEMANDED

 

PEDIATRIC ANESTHESIOLOGISTS, P.A.;
BABU RAO PAIDIPALLI; and,
MARK P. CLEMONS,

Defendants

 

PLAINTIFFS’ AFFIDAVIT OF SERVICE
PURSUANT TO TENN. CODE ANN. §29-26-121

 

STATE OF TENNESSEE:
COUNTY OF SHELBY:

COMES NOW Mark Ledbetter, as counsel of record for Plaintiffs, pursuant to and as
required by Tenn. Cole Ann. § 29-26-121(a)(4), who being first duly sworn according to law
hereby makes oath and states as follows:

L, My name is Mark Ledbetter. I am an attorney licensed to practice law in and by
the State of Tennessee. My Tennessee Board of Professional Responsibility number is 17637.
Except where it may be otherwise noted herein, I have personal knowledge of the statements
made herein and am otherwise competent to execute this Affidavit. I am counsel of record for
Plaintiffs Daniel Lovelace and Helen Lovelace, individually and as parents of Brett Lovelace,

deceased.

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3

 
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2. Pursuant to and as required by Tenn. Code Ann. § 29-26-121, my office caused a
written notice letter to be issued to Defendants, Pediatric Anesthesiologists, P.A.; Babu Rao
Paidipalli; and, Mark P. Clemons. A summary of the history of the mailing of the notice letters
is set forth in the following paragraphs. Copies of the notice letters are attached hereto (Exhibits
“A”, “B”, and “C”) as required by Tenn. Code Ann. 29-26-121, along with photocopies of
certificates of mailing (receipts) from the United States postal service stamped with the date(s) of
mailing. Additionally, attached hereto as Exhibit “D” is PS Form 3877 from the United States
postal service certifying the mailing of all notice letters to respective defendants on February 13,
2013.

3. As to Defendant Pediatric Anesthesiologists, P.A., by letter dated February 13,
2013, at least 60 days prior to the filing of this action, timely notice of a potential claim against
Pediatric Anesthesiologists, P.A., was provided via certified mail, return receipt requested, to (1)
Pediatric Anesthesiologists, P.A. at 50 North Dunlap Street, ond Floor, Research Tower,
Memphis, TN 38103, which was returned on or about February 14, 2013; and (2) Pediatric
Anesthesiologists, P.A., Attn: Donald E. Bourland, 5400 Poplar Avenue, Suite 100, Memphis,
TN 38119, which was returned on or about February 14, 2013. A photocopy of the notice
letters, together with the Certified Mail Receipts and the returned certified mail receipt cards, is
attached hereto. Consequently, this action 1s filed 60 (sixty) or more days after the receipt of the
written notice to Pediatric Anesthesiologists, P.A., as required by Tenn. Code Ann. § 29-26-121.

4. As to Defendant Babu Rao Paidipalli, by letter dated February 13, 2013, 2013, at
least 60 days prior to the filing of this action, timely notice of a potential claim against Babu Rao
Paidipalli, was provided via certified mail, return receipt requested, to (1) Babu Rao Paidipalli

c/o Pediatric Anesthesiologists, P.A. at 50 North Dunlap Street, 2" Floor, Research Tower,
Case 2:13-cv-02289-SHL-dkv Document 1-8 Filed 05/08/13 Page 3o0f53 PagelD 24

Memphis, TN 38103, which was returned on or about February 27, 2013; and, (2) Babu Rao
Paidipalli c/o LeBonheur East Surgery Center, 786 Estate Place, Memphis, Tennessee 38130,
which was returned on or about February 21, 2013. A photocopy of the notice letters, together
with the Certified Mail Receipts and the returned certified mail receipt cards is attached hereto.
Consequently, this action is filed 60 (sixty) or more days after the receipt of the written notice to
Babu Rao Paidipalli as required by Tenn. Code Ann. § 29-26-121.

5. As to Defendant Mark P. Clemons, by letter dated February 13, 2013, at least 60
days prior to the filing of this action, timely notice of a potential claim against Mark P. Clemons,
was provided via certified mail, return receipt requested, to (1) Mark P. Clemons, M.D., 6616
Kirby Center Cove, Memphis, TN 38115, which was returned on or about (date omitted on
return receipt, accepted and signed by C. Williams); and (2) Mark P. Clemons, M.D., 228 West
Tyler, Ste. 100, West Memphis, TN 72301, which was returned on or about February 21, 2013.
A photocopy of the notice letters, together with the Certified Mail Receipts and the returned
certified mail receipt cards is attached hereto. Consequently, this action is filed 60 (sixty) or
more days after the receipt of the written notice to Mark P. Clemons, M.D., as required by Tenn.
Code Ann. § 29-26-121.

6. As required by Tenn. Code Ann. § 29-26-121, the notice letters referred to above
and attached hereto were accompanied by lists of other providers to whom notices were being
given, along with authorizations permitting each provider receiving the notice to obtain complete

medical records from each other provider being sent a notice.
Case 2:13-cv-02289-SHL-dkv Document 1-8 Filed 05/08/13 Page 4of53 PagelD 25

FURTHER THIS AFFIANT SAYETH NOT:

pom

MARK LEDBETTER

STATE OF TENNESSEE:

COUNTY OF SHELBY:

On this day of J] Lay , 2013, before me, a Notary Public of the State
and County aforesaid, personally appeared the undersigned Mark Ledbetter, and who, upon oath,

acknowledged that he executed the foregoing instrument for the purpose therein contained of his

own hand and by his own free act. 7
D //. AZ J. wt

NOTARY PUBLIC

My Commission Expires: A) AO

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Filed 05/08/13 Page 5 of 53 Page|D 26

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(Endorsement Required)

 

 

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@ Complete items 1, 2, and 3. Also complete
item 4 if Restricted Delivery is desired.

 

0 Agent
@ Print your name and address on the reverse q ot Addressee
So that we can return the card to you. B. Received b ted N, D
™ Attach this card to the back of the mailpiece, A f ae De a
or on the front if space permits. <n =, ‘ale oy

 

 

 

D. Is Yelivery address different from item 1? LI Yes
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1. Article Addressed to:

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PS Form 3811, February 2004 Domestic Return Receipt 102595-02-M-1540
Case 2:13-cv-02289-SHL-dkv Document 1-8 Filed 05/08/13 Page 6o0f53 PagelD 27

HALLIBURTON & LEDBETTER
ATTORNEYS AT LAW
254 COURT AVENUE - SUITE 305
MEMPHIS, TENNESSEE 38103

MARK LEDBETTER* (901) 523-8153 - Phone
*Licensed in Tennessee & Arkansas . (901) 523-8115 - Fax
E-mail: mark794@aol.com

February 13, 2013
SENT VIA CERTIFIED MAIL, RETURN RECEIPT REQUESTED

Donald E. Bourland

Registered Agent for Service of Process
Pediatric Anesthesiologists, P.A.

$400 Poplar Avenue, Suite 100
Memphis, TN 38119-3669

RE: Possible Medical Malpractice Claim
Patient: Brett Spencer Lovelace
Surgery dated March 12, 2012

Dear Pediatric Anesthesiologists and Donald E. Bourland:

Pursuant to T.C.A. §29-26-121, please be advised that I am the attorney representing Daniel and
Helen Lovelace, parents of Brett Spencer Lovelace, deceased. I am their authorized agent for
providing you this notice. Through me, Daniel and Helen Lovelace are asserting a potential
claim for medical malpractice of a health care liability action under T.C.A. § 29-26-115 against
Pediatric Anesthesiologists, P.A. Also, Daniel and Helen Lovelace each assert a potential claim
for negligent infliction of emotional distress (NIED) against Pediatric Anesthesiologists, P.A.

Brett Spencer Lovelace was a 12-year-old male child who underwent a tonsillectomy and
adenoidectomy (T&A), which was done under general endotracheal tube anesthesia (Babu Rao
Paidipalli was the anesthesiologist) on March 12, 2012, at LeBonheur Children’s Hospital in
Memphis, Tennessee. After the surgery (Dr. Mark P. Clemons was the surgeon), Brett Spencer
Lovelace was transferred to the hospital’s PACU, where he suffered positional asphyxia and
respiratory arrest. Brett Spencer Lovelace suffered consequent brain swelling and anoxic brain
injury that resulted in brain death. He was pronounced dead on March 14, 2012. It is alleged
that a claim arose due to the acts or omissions of the intended recipient(s) of this letter, as no one
intervened to protect the child or issue orders for his safe resuscitation.

Attached hereto is a list of all health care providers to whom notice is being given pursuant to
T.C.A. §29-26-121(a). Additional information required by T.C.A. §29-26-121 is furnished to
you below.

(A) The full name and date of birth of the patient whose treatment is at issue:

Brett Spencer Lovelace, DOB: Qa.
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Letter to Pediatric Anesthesiologists, P.A.
and Donald E. Bourland

Lovelace vs. Pediatric Anesthesiologists, P.A.

February 13, 2013

Page 2

(B) The name and address of the claimants authorizing the notice and the relationship to the
patient, if the notice is not sent by the patient:

Daniel and Helen Lovelace, ume, Marion, AR, 72364, the parents of the
deceased minor, Brett Spencer Lovelace, are authorizing the issuance of this letter for the
purposes of providing notice, as required by T.C.A. §29-26-121.

(C) The name and address of the attorney sending the notice, if applicable:

Mark Ledbetter
254 Court Avenue, Suite 305
Memphis, TN 38103

(D) A list of the names and addresses of all providers being sent a notice:

Notice is being sent to:

 

Babu Rao Paidipalli Babu Rao Paidipalli

c/o Pediatric Anesthesiologists, P.A. c/o Le Bonheur East Surgery Center
50 North Dunlap Street 786 Estate Place

qn Floor, Research Tower Memphis, TN 38120

Memphis, TN 38103

 

 

Pediatric Anesthesiologists, P.A. Donald E. Bourland
50 North Dunlap Street Pediatric Anesthesiologists, P.A.
ond Floor, Research Tower 5400 Poplar Avenue, Suite 100
Memphis, TN 38103 Memphis, TN 38119-3669
Registered Agent for Service of Process
Mark P. Clemons, M.D. Mark P. Clemons, MLD.
6616 Kirby Center Cove 228 West Tyler, Suite 100
Memphis, TN 38115 West Memphis, AR 72301

 

 

 

 

(E) AHIPAA complaint medical authorization permitting the provider receiving the notice to
obtain the complete medical records from each other provider being sent a notice.

An authorization is enclosed.
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Letlcr to Pediatric Ancsthcsiologists, P.A.
and Donald E. Bourland

Lovelace vs. Pediatric Anesthesiologists, P.A.

February 13, 2013

Page 3

Pursuant to T.C.A. §29-26-121, this letter shall serve as written notice of this potential claim.

Sincerely yours,

/

Kiar Ledbetter
PML/js

Enclosures: List pursuant to T.C.A. §29-26-121(a);
Authorization
Case 2:13-cv-02289-SHL-dkv Document 1-8 Filed 05/08/13 Page 9 of53 PagelD 30

DEFENDANTS LIST FOR NOTICE

Pediatric Anesthesiologists, P.A.
50 North Dunlap Street,

2" Floor, Research Tower
Memphis, TN 38103

Pediatric Anesthesiologists, P.A.,
Attn: Donald E. Bourland,

5400 Poplar Avenue, Suite 100,
Memphis, TN, 38119;

Babu Rao Paidpalli

c/o Pediatric Anesthesiologists, P.A.

50 North Dunlap Street,

2™ Floor, Research Tower, Memphis, TN 38103

Babu Rao Paidipalli
c/o Le Bonheur East Surgery Center
786 Estate Place, Memphis, TN 38120

Mark P. Clemons, M.D.
6616 Kirby Center Cove
Memphis, TN, 38115

Mark P. Clemons, M.D.
228 West Tyler, Suite 100
West Memphis, AR 72301.
Case 2:13-cv-02289-SHL-dkv Document 1-8 Filed 05/08/13 Page 100f53 PagelD 31

AUTHORIZATION TO DISCLOSE

 

HEALTH INFORMATION
Patient name: Brett Spencer Lovelace DOB: Gaia SSN: Se
1. I authorize the use or disclosure of the above named individual’s health information as described below:
2. The following individual or organization is authorized to make the disclosure:

Pediatric Anesthesiologists, P.A.
50 North Dunlap Street

2™ Floor, Research Tower
Memphis, TN 38103

Pediatric Anesthesiologists, P.A.
Attn: Donald E. Bourland

5400 Poplar Avenue, Suite 100
Memphis, TN, 38119

Babu Rao Paidpalli

c/o Pediatric Anesthesiologists, P.A.
50 North Dunlap Street

2™ Floor, Research Tower
Memphis, TN 38103

Babu Rao Paidipalli

c/o Le Bonheur East Surgery Center
786 Estate Place

Memphis, TN 38120

Mark P. Clemons, M.D.
6616 Kirby Center Cove
Memphis, TN, 38115

Mark P. Clemons, M.D.
228 West Tyler, Suite 100
West Memphis, AR 72301

3. The type and amount of information to be used or disclosed is as follows:

appropriate)

problem list

medication list

list of allergies

immunization record

most recent history and physical
most recent discharge summary
laboratory results

x-ray and imaging reports

ATT TTT

(include dates where
Case 2:13-cv-02289-SHL-dkv Document 1-8 Filed 05/08/13 Page 110f53 PagelD 32

consultation reports

(all treating physicians/nurses and caretakers)
entire record

other: billing records

I understand that the information in my health record may include information relating to sexually
transmitted disease, acquired immunodeficiency syndrome (AIDS), or human immunodeficiency virus

(HIV). It may also include information about behavioral or mental health services, and treatment for
alcohol and drug abuse.

This information may be disclosed to and used by the following individual or organization:

Pediatric Anesthesiologists, P.A.
50 North Dunlap Street

2™ Floor, Research Tower
Memphis, TN 38103

Pediatric Anesthesiologists, P.A.
Attn: Donald E. Bourland

5400 Poplar Avenue, Suite 100
Memphis, TN, 38119

Babu Rao Paidpalli

c/o Pediatric Anesthesiologists, P.A.
50 North Dunlap Street

2™ Floor, Research Tower
Memphis, TN 38103

Babu Rao Paidipalli

c/o Le Bonheur East Surgery Center
786 Estate Place

Memphis, TN 38120

Mark P. Clemons, M.D.
6616 Kirby Center Cove
Memphis, TN, 38115

Mark P. Clemons, M.D.
228 West Tyler, Suite 100
West Memphis, AR 72301

I understand I have the right to revoke this authorization at any time. I understand if I revoke this
authorization I must do so in writing and present my written revocation to the health information
management department. I understand the revocation will not apply to information that has already
been released in response to this authorization. I understand the revocation will not apply to my
insurance company when the law provides my insurer with the right to contest a claim under my policy.
Unless otherwise revoked, this authorization will expire on the following date, event or condition:

December 31, 2014. If I fail to specify an expiration date, event or condition, this authorization will
expire in six months.
Case 2:13-cv-02289-SHL-dkv Document 1-8 Filed 05/08/13 Page 120f53 PagelD 33

7. L understand that authorizing the disclosure of this health information is voluntary. I can refuse to sign
this authorization. I need not sign this form in order to assure treatment. I understand I may inspect or
copy the information to be used or disclosed, as provided in CFR 164.524. I understand any disclosure
of information carries with it the potential for an unauthorized re-disclosure and the information may
not be protected by federal confidentiality rules. If I have questions about disclosure of my health

information, I can contact (insert HIM director, privacy officer, or other office or individual’s name or
contact information.)

8. Nothing in this Authorization shall be construed as permitting the ex parte communication between
counsel for the Defendants and the healthcare providers of Brett Spencer Lovelace (Plaintiffs’

Decedent, and Son) without the express permission and/or the participation of Helen Lovelace, Daniel
Lovelace, or their attorneys.

 

 

9. I hereby agree that a copy of this authorization form or facsimile shall have the same force and effect as
the original thereof.
Mb» Fpllece— Lf SR
Helen Lovelace / Date /

Mother of Brett Spencer Lovelace

Daniel Lovelace
Father of Brett Spencer Lovelace

 

Signature of Witness

STATE OF TENNESSEE

COUNTY OF SHELBY

eR
On this Z 5 day of January 2013, before me personally appeared Helen Lovelace and
Daniel Lovelace known to me to be the persons described herein and who executed the foregoing

Authorization to Release Medical Information and that they executed the same as their free act and

deed.

 

My commission expires: G ¢ / Pb b .
 

Case 2:13-cv-02289-SHL-dkv Document 1-8 Filed 05/08/13 Page 13 0f53 PagelD 34

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Certified Fee

Return Receipt Fee
(Endorsement Required)

Restricted Delivery Fee
(Endorsement Required)

Total Postage & Fees

  
 
 
 
 
    
 

 

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Complete items 1, 2, and 3. Also complete
item 4 if Restricted Delivery is desired.

@ Print your name and address on the reverse
so that we can return the card to you.

B Attach this card to the back of the mailpiece,
or on the front if space permits.

| 1. Article Addressed to:

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450 Street

  

 
       

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A. Signature
x elle blide—
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D. Is delivery address blocs Me" item1? Ol Yes
If YES, enter delivery address below: [1 No

DO Agent
OO Addressee

 

 

 

 

 

and ribo, F Deoarch Tower

 

 

Memphis, TY 36103

3. Servic pe
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CO Registered feturn Receipt for Merchandise
0 Insured Mail 1 C.O.D.

 

 

4. Restricted Delivery? (Extra Fee) CO Yes

 

2. Article Number
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“RS Form 38171, February 2004,

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Domestic Return Receipt

102595-02-M-1540
Case 2:13-cv-02289-SHL-dkv Document 1-8 Filed 05/08/13 Page 14 0f53 PagelD 35

HALLIBURTON & LEDBETTER
ATTORNEYS AT LAW
254 COURT AVENUE - SUITE 305
MEMPHIS, TENNESSEE 38103

MARK LEDBETTER* (901) 523-8153 - Phone
*Licensed in Tennessee & Arkansas (901) 523-8115 - Fax
E-mail: mark794@aol.com

February 13, 2013
SENT VIA CERTIFIED MAIL, RETURN RECEIPT REQUESTED

Pediatric Anesthesiologists, P.A.
50 North Dunlap Street

2"! Floor, Research Tower
Memphis, TN 38103

RE: Possible Medical Malpractice Claim
Patient: Brett Spencer Lovelace
Surgery dated March 12, 2012

Dear Pediatric Anesthesiologists and Donald E. Bourland:

Pursuant to T.C.A. §29-26-i21, please be advised that I am the attorney representing Daniel and
Helen Lovelace, parents of Brett Spencer Lovelace, deceased. I am their authorized agent for
providing you this notice. Through me, Daniel and Helen Lovelace are asserting a potential
claim for medical malpractice of a health care liability action under T.C.A. § 29-26-115 against
Pediatric Anesthesiologists, P.A. Also, Daniel and Helen Lovelace.each assert a potential claim
for negligent infliction of emotional distress (NIED) against Pediatric Anesthesiologists, P.A.

Brett Spencer Lovelace was a 12-year-old male child who underwent a tonsillectomy and
adenoidectomy (T&A), which was done under general endotracheal tube anesthesia (Babu Rao
Paidipalli was the anesthesiologist) on March 12, 2012, at LeBonheur Children’s Hospital in
Memphis, Tennessee. After the surgery (Dr. Mark P. Clemons was the surgeon), Brett Spencer
Lovelace was transferred to the hospital’s PACU, where he suffered positional asphyxia and
respiratory arrest. Brett Spencer Lovelace suffered consequent brain swelling and anoxic brain
injury that resulted in brain death. He was pronounced dead on March 14, 2012. It is alleged
that a claim arose due to the acts or omissions of the intended recipient(s) of this letter, as no one
intervened to protect the child or issue orders for his safe resuscitation.

Attached hereto is a list of all health care providers to whom notice is being given pursuant to
T.C.A. §29-26-121(a). Additional information required by T.C.A. §29-26-121 is furnished to
you below.

(A) _ The full name and date of birth of the patient whose treatment is at issue:

Brett Spencer Lovelace, DOB: qa.
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Letter to Pediatric Anesthesiologists, P.A.
Lovelace vs. Pediatric Anesthesiologists, P.A.
February 13

Page 2

(B) The name and address of the claimants authorizing the notice and the relationship to the
patient, if the notice is not sent by the patient:

Daniel and Helen Lovelace, Tie, Marion, AR, 72364, the parents of the
deceased minor, Brett Spencer Lovelace, are authorizing the issuance of this letter for the
purposes of providing notice, as required by T.C.A. §29-26-121.

(C) The name and address of the attorney sending the notice, if applicable:
Mark Ledbetter

254 Court Avenue, Suite 305
Memphis, TN 38103

(D) A list of the names and addresses of all providers being sent a notice:

Notice is being sent to:

 

 

 

Babu Rao Paidipalli Babu Rao Paidipalli

c/o Pediatric Anesthesiologists, P.A. c/o Le Bonheur East Surgery Center

50 North Dunlap Street 786 Estate Place

2"™ Floor, Research Tower Memphis, TN 38120

Memphis, TN 38103

Pediatric Anesthesiologists, P.A. Donald E. Bourland

50 North Dunlap Street Pediatric Anesthesiologists, P.A.

yee Floor, Research Tower 5400 Poplar Avenue, Suite 100

Memphis, TN 38103 Memphis, TN 38119-3669
Registered Agent for Service of Process

Mark P. Clemons, M.D. Mark P. Clemons, M.D.

6616 Kirby Center Cove 228 West Tyler, Suite 100

Memphis, TN 38115 West Memphis, AR 72301

 

 

 

 

(E) AHIPAA complaint medical authorization permitting the provider receiving the notice to
obtain the complete medical records from each other provider being sent a notice.

An authorization is enclosed.
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Letter to Pediatric Ancsthesiologisis, P.A.
Lovelace vs. Pediatric Anesthesiologists, P.A.
February 13, 2013

Page 3

Pursuant to T.C.A. §29-26-121, this letter shall serve as written notice of this potential claim.
Sincerely yours,

Hawke

ark Ledbetter
PML/js

Enclosures: List pursuant to T.C.A. §29-26-121(a);
Authorization
Case 2:13-cv-02289-SHL-dkv Document 1-8 Filed 05/08/13 Page 17of53 PagelD 38

DEFENDANTS LIST FOR NOTICE

Pediatric Anesthesiologists, P.A.
50 North Dunlap Street,

2™4 Floor, Research Tower
Memphis, TN 38103

Pediatric Anesthesiologists, P.A.,
Attn: Donald E. Bourland,

5400 Poplar Avenue, Suite 100,
Memphis, TN, 38119;

Babu Rao Paidpalli

c/o Pediatric Anesthesiologists, P.A.

50 North Dunlap Street,

2™ Floor, Research Tower, Memphis, TN 38103

Babu Rao Paidipalli
c/o Le Bonheur East Surgery Center
786 Estate Place, Memphis, TN 38120

Mark P. Clemons, M.D.
6616 Kirby Center Cove
Memphis, TN, 38115

Mark P. Clemons, M.D.
228 West Tyler, Suite 100
West Memphis, AR 72301.
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AUTHORIZATION TO DISCLOSE
HEALTH INFORMATION

Patient name: Brett Spencer Lovelace DOB: SSN: Sa
1. I authorize the use or disclosure of the above named individual’s health information as described below:

2. The following individual or organization is authorized to make the disclosure:

Pediatric Anesthesiologists, P.A.
50 North Dunlap Street

2" Floor, Research Tower
Memphis, TN 38103

Pediatric Anesthesiologists, P.A.
Attn: Donald E. Bourland
5400 Poplar Avenue, Suite 100
Memphis, TN, 38119

Babu Rao Paidpalli

c/o Pediatric Anesthesiologists, P.A.
50 North Dunlap Street

Qn Floor, Research Tower
Memphis, TN 38103

Babu Rao Paidipalli

c/o Le Bonheur East Surgery Center
786 Estate Place

Memphis, TN 38120

Mark P. Clemons, M.D.
_ 6616 Kirby Center Cove
Memphis, TN, 38115

Mark P. Clemons, M.D.
228 West Tyler, Suite 100
West Memphis, AR 72301

3. The type and amount of information to be used or disclosed is as follows: (include dates where
appropriate)

problem list

medication list

list of allergies

immunization record

most recent history and physical
most recent discharge summary
laboratory results

x-ray and imaging reports

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Case 2:13-cv-02289-SHL-dkv Document 1-8 Filed 05/08/13 Page 190f53 PagelD 40

consultation reports
(all treating physicians/nurses and caretakers)
entire record

other: billing records

I understand that the information in my health record may include information relating to sexually
transmitted disease, acquired immunodeficiency syndrome (AIDS), or human immunodeficiency virus
(HIV). It may also include information about behavioral or mental health services, and treatment for
alcohol and drug abuse.

This information may be disclosed to and used by the following individual or organization:

Pediatric Anesthesiologists, P.A.
50 North Dunlap Street

2™ Floor, Research Tower
Memphis, TN 38103

Pediatric Anesthesiologists, P.A.
Attn: Donald E. Bourland

5400 Poplar Avenue, Suite 100
Memphis, TN, 38119

Babu Rao Paidpalli

c/o Pediatric Anesthesiologists, P.A.
50 North Dunlap Street

2" Floor, Research Tower
Memphis, TN 38103

Babu Rao Paidipalli

c/o Le Bonheur East Surgery Center
786 Estate Place

Memphis, TN 38120

Mark P. Clemons, M.D.
6616 Kirby Center Cove
Memphis, TN, 38115

Mark P. Clemons, M.D.
228 West Tyler, Suite 100
West Memphis, AR 72301

I understand I have the right to revoke this authorization at any time. I understand if I revoke this
authorization I must do so in writing and present my written revocation to the health information
management department. 1 understand the revocation will not apply to information that has already
been released in response to this authorization. I understand the revocation will not apply to my
insurance company when the law provides my insurer with the right to contest a claim under my policy.
Unless otherwise revoked, this authorization will expire on the following date, event or condition:

December 31, 2014. If I fail to specify an expiration date, event or condition, this authorization will
expire in six months.
Case 2:13-cv-02289-SHL-dkv Document 1-8 Filed 05/08/13 Page 20 0f 53 PagelD 41

I understand that authorizing the disclosure of this health information is voluntary. I can refuse to sign
this authorization. I need not sign this form in order to assure treatment. I understand I may inspect or
copy the information to be used or disclosed, as provided in CFR 164.524. I understand any disclosure
of information carries with it the potential for an unauthorized re-disclosure and the information may
not be protected by federal confidentiality rules. If I have questions about disclosure of my health

information, I can contact (insert HIM director, privacy officer, or other office or individual’s name or
contact information.)

Nothing in this Authorization shall be construed as permitting the ex parte communication between
counsel for the Defendants and the healthcare providers of Brett Spencer Lovelace (Plaintiffs’

Decedent, and Son) without the express permission and/or the participation of Helen Lovelace, Daniel
Lovelace, or their attorneys.

I hereby agree that a copy of this authorization form or facsimile shall have the same force and effect as
the original thereof.

Nbr Folch ce [2 6/13

Helen Lovelace
Mother of Brett Spencer Lovelace

th Mabe bokh.

Daniel Lovelace Signature of Witness
Father of Brett Spencer Lovelace

STATE OF TENNESSEE

. COUNTY OF SHELBY

yt-
On this JS day of January 2013, before me personally appeared Helen Lovelace and

Daniel Lovelace known to me to be the persons described herein and who executed the foregoing

Authorization to Release Medical Information and that they executed the same as their free act and

deed.
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Case 2:13-cv-02289-SHL-dkv Document 1-8 Filed 05/08/13 Page 21 of 53 PagelD A2

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(Endorsement Required)

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or on the front if space permits.

 

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1. Article Addressed to:

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EXHIBIT

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Case 2:13-cv-02289-SHL-dkv Document 1-8 Filed 05/08/13 Page 22 0f53 PagelD 43

HALLIBURTON & LEDBETTER
ATTORNEYS AT LAW
254 COURT AVENUE - SUITE 305
MEMPHIS, TENNESSEE 38103

MARK LEDBETTER* (901) 523-8153 - Phone

*Licensed in Tennessee & Arkansas (901) 523-8115 - Fax
E-mail: mark794@aol.com

February 13, 2013

SENT VIA CERTIFIED MAIL, RETURN RECEIPT REQUESTED

Babu Rao Paidipalli

c/o Pediatric Anesthesiologists, P.A.
50 North Dunlap Street

2"! Floor, Research Tower
Memphis, TN 38103

RE: Possible Medical Malpractice Claim
Patient: Brett Spencer Lovelace
Surgery dated March 12, 2012

Dear Dr. Paidipalli:

Pursuant to T.C.A. §29-26-121, please be advised that I am the attorney representing Daniel and
Helen Lovelace, parents of Brett Spencer Lovelace, deceased. I am their authorized agent for
providing you this notice. Through me, Daniel and Helen Lovelace are asserting a potential
claim for medical malpractice of a health care liability action under T.C.A. § 29-26-115 against
Babu Rao Paidipalli. Also, Daniel and Helen Lovelace each assert a potential claim for
negligent infliction of emotional distress (NIED) against Babu Rao Paidipalli

Brett Spencer Lovelace was a 12-year-old male child who underwent a tonsillectomy and
adenoidectomy (T&A), which was done under general endotracheal tube anesthesia (Babu Rao
Paidipalli was the anesthesiologist) on March 12, 2012, at LeBonheur Children’s Hospital in
Memphis, Tennessee. After the surgery (Dr. Mark P. Clemons was the surgeon), Brett Spencer
Lovelace was transferred to the hospital’s PACU, where he suffered positional asphyxia and
respiratory arrest. Brett Spencer Lovelace suffered consequent brain swelling and anoxic brain
injury that resulted in brain death. He was pronounced dead on March 14, 2012. It is alleged
that a claim arose due to the acts or omissions of the intended recipient(s) of this letter, as no one
intervened to protect the child or issue orders for his safe resuscitation.

Attached hereto is a list of all health care providers to whom notice is being given pursuant to

T.C.A. §29-26-121(a). Additional information required by T.C.A. §29-26-121 is furnished to
you below.

(A) The full name and date of birth of the patient whose treatment is at issue:

Brett Spencer Lovelace, DOB: Sqgguamugaaay>
Case 2:13-cv-02289-SHL-dkv Document 1-8 Filed 05/08/13 Page 23 0f53 PagelD 44

Letter to Babu Rao Paidipalli
Lovelace vs. Paidipalli
February 13, 2013

Page 2

(B) - The name and address of the claimants authorizing the notice and the relationship to the
patient, if the notice is not sent by the patient:

Daniel and Helen Lovelace, SME, Marion, AR, 72364, the parents of the
deceased minor, Brett Spencer Lovelace, are authorizing the issuance of this letter for the
purposes of providing notice, as required by T.C.A. §29-26-121.

(C) The name and address of the attorney sending the notice, if applicable:
Mark Ledbetter

254 Court Avenue, Suite 305
Memphis, TN 38103

(D) A list of the names and addresses of all providers being sent a notice:

Notice is being sent to:

 

 

 

Babu Rao Paidipalli Babu Rao Paidipalli

c/o Pediatric Anesthesiologists, P.A. c/o Le Bonheur East Surgery Center

50 North Dunlap Street 786 Estate Place

2"4 Floor, Research Tower Memphis, TN 38120

Memphis, TN 38103

Pediatric Anesthesiologists, P.A. Donald E. Bourland

50 North Dunlap Street Pediatric Anesthesiologists, P.A.

24 Floor, Research Tower 5400 Poplar Avenue, Suite 100

Memphis, TN 38103 Memphis, TN 38119-3669
Registered Agent for Service of Process

Mark P. Clemons, M.D. Mark P. Clemons, M.D.

6616 Kirby Center Cove 228 West Tyler, Suite 100

Memphis, TN 38115 West Memphis, AR 72301

 

 

 

 

(E) A HIPAA complaint medical authorization permitting the provider receiving the notice to
obtain the complete medical records from each other provider being sent a notice.

An authorization is enclosed.
Case 2:13-cv-02289-SHL-dkv Document 1-8 Filed 05/08/13 Page 240f53 PagelD 45

Letter to Babu Rao Paidipalli
Lovelace vs. Paidipalli
February 13, 2013

Page 3

Pursuant to T.C.A. §29-26-121, this letter shall serve as written notice of this potential claim.

Sincerely yours,

ark Ledbetter

PML/js

Enclosures: List pursuant to T.C.A. §29-26-121(a);
HIPPA Authorization
Case 2:13-cv-02289-SHL-dkv Document 1-8 Filed 05/08/13 Page 25 0f53 PagelD 46

DEFENDANTS LIST FOR NOTICE

Pediatric Anesthesiologists, P.A.
50 North Dunlap Street,

2™ Floor, Research Tower
Memphis, TN 38103

Pediatric Anesthesiologists, P.A.,
Attn: Donald E. Bourland,

5400 Poplar Avenue, Suite 100,
Memphis, TN, 38119;

Babu Rao Paidpalli

c/o Pediatric Anesthesiologists, P.A.

50 North Dunlap Street,

2™ Floor, Research Tower, Memphis, TN 38103

Babu Rao Paidipalli
c/o Le Bonheur East Surgery Center
786 Estate Place, Memphis, TN 38120

Mark P. Clemons, M.D.
6616 Kirby Center Cove
Memphis, TN, 38115

Mark P. Clemons, M.D.
228 West Tyler, Suite 100
West Memphis, AR 72301.
Case 2:13-cv-02289-SHL-dkv Document 1-8 Filed 05/08/13 Page 26 of 53 PagelD 47

AUTHORIZATION TO DISCLOSE
HEALTH INFORMATION

 

Patient name: Brett Spencer Lovelace DOB: aap SSN qfiigaa.

L,

a

I authorize the use or disclosure of the above named individual’s health information as described below:

The following individual or organization is authorized to make the disclosure:

Pediatric Anesthesiologists, P.A.
50 North Dunlap Street

2™ Floor, Research Tower
Memphis, TN 38103

Pediatric Anesthesiologists, P.A.
Attn: Donald E. Bourland

5400 Poplar Avenue, Suite 100
Memphis, TN, 38119

Babu Rao Paidpalli

c/o Pediatric Anesthesiologists, P.A.
50 North Dunlap Street

2™ Floor, Research Tower
Memphis, TN 38103

Babu Rao Paidipalli

c/o Le Bonheur East Surgery Center
786 Estate Place

Memphis, TN 38120

Mark P. Clemons, M.D.
6616 Kirby Center Cove
Memphis, TN, 38115

Mark P. Clemons, M.D.
228 West Tyler, Suite 100
West Memphis, AR 72301

The type and amount of information to be used or disclosed is as follows:

appropriate)

problem list

medication list

list of allergies

immunization record

most recent history and physical
most recent discharge summary
laboratory results

x-ray and imaging reports

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(include dates where
Case 2:13-cv-02289-SHL-dkv Document 1-8 Filed 05/08/13 Page 27 of 53 PagelD 48

consultation reports

(all treating physicians/nurses and caretakers)
entire record

other: billing records

I understand that the information in my health record may include information relating to sexually
transmitted disease, acquired immunodeficiency syndrome (AIDS), or human immunodeficiency virus

(HIV). It may also include information about behavioral or mental health services, and treatment for
alcohol and drug abuse.

This information may be disclosed to and used by the following individual or organization:

Pediatric Anesthesiologists, P.A.
50 North Dunlap Street

2" Floor, Research Tower
Memphis, TN 38103

Pediatric Anesthesiologists, P.A.
Atta: Donald E. Bourland

$400 Poplar Avenue, Suite 100
Memphis, TN, 38119

Babu Rao Paidpalli

c/o Pediatric Anesthesiologists, P.A.
50 North Dunlap Street

2™ Floor, Research Tower
Memphis, TN 38103

Babu Rao Paidipalli

c/o Le Bonheur East Surgery Center
786 Estate Place

Memphis, TN 38120

Mark P. Clemons, M.D.
6616 Kirby Center Cove
Memphis, TN, 38115

Mark P. Clemons, M.D.
228 West Tyler, Suite 100
West Memphis, AR 72301

I understand I have the right to revoke this authorization at any time. I understand if I revoke this
authorization I must do so in writing and present my written revocation to the health information
management department. I understand the revocation will not apply to information that has already
been released in response to this authorization. 1 understand the revocation will not apply to my
insurance company when the law provides my insurer with the right to contest a claim under my policy.
Unless otherwise revoked, this authorization will expire on the following date, event or condition:

December 31, 2014. If I fail to specify an expiration date, event or condition, this authorization will
expire in six months.
Case 2:13-cv-02289-SHL-dkv Document 1-8 Filed 05/08/13 Page 28 of 53 PagelD 49

7. I understand that authorizing the disclosure of this health information is voluntary. I can refuse to sign
this authorization. I need not sign this form in order to assure treatment. I understand I may inspect or
copy the information to be used or disclosed, as provided in CFR 164.524. I understand any disclosure
of information carries with it the potential for an unauthorized re-disclosure and the information may
not be protected by federal confidentiality rules. If I have questions about disclosure of my health
information, I can contact (insert HIM director, privacy officer, or other office or individual’s name or

 

 

 

contact information.)

8. Nothing in this Authorization shall be construed as permitting the ex parte communication between
counsel for the Defendants and the healthcare providers of Brett Spencer Lovelace (Plaintifis’
Decedent, and Son) without the express permission and/or the participation of Helen Lovelace, Daniel
Lovelace, or their attomeys.

9. I hereby agree that a copy of this authorization form or facsimile shall have the same force and effect as
the original thereof.

Mh) Koleleca LEZLB
Helen Lovelace Daf 7
Mother of Brett Spencer Lovelace
aS
Daniel Lovelace “Signature of Witness
Father of Brett Spencer Lovelace

STATE OF TENNESSEE

COUNTY OF SHELBY

Me
On this Z (5 day of January 2013, before me personally appeared Helen Lovelace and
Daniel Lovelace known to me to be the persons described herein and who executed the foregoing

Authorization to Release Medical Information and that they executed the same as their free act and

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My commission expires!7 -2f-2o} b .
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Case 2:13-cv-02289-SHL-dkv Document 1-8 Filed 05/08/13 Page 30 0f53 PagelD 51

HALLIBURTON & LEDBETTER
ATTORNEYS AT LAW
254 COURT AVENUE - SUITE 305
MEMPHIS, TENNESSEE 38103

MARK LEDBETTER* (901) 523-8153 - Phone
*Licensed in Tennessee & Arkansas . (901) 523-8115 - Fax
E-mail: mark794@aol.com

February 13, 2013

SENT VIA CERTIFIED MAIL, RETURN RECEIPT REQUESTED

Babu Rao Paidipalli

c/o Le Bonheur East Surgery Center
786 Estate Place

Memphis, TN 38120

RE: Possible Medical Malpractice Claim
Patient: Brett Spencer Lovelace
Surgery dated March 12, 2012

Dear Dr. Paidipalli:

Pursuant to T.C.A. §29-26-121, please be advised that I am the attorney representing Daniel and
Helen Lovelace, parents of Brett Spencer Lovelace, deceased. I am their authorized agent for
providing you this notice. Through me, Daniel and Helen Lovelace are asserting a potential
claim for medical malpractice of a health care liability action under T.C.A. § 29-26-115 against
Babu Rao Paidipalli, Also, Daniel and Helen Lovelace each assert a potential claim for
negligent infliction of emotional distress (NIED) against Babu Rao Paidipalli

Brett Spencer Lovelace was a 12-year-old male child who underwent a tonsillectomy and
adenoidectomy (T&A), which was done under general endotracheal tube anesthesia (Babu Rao
Paidipalli was the anesthesiologist) on March 12, 2012, at LeBonheur Children’s Hospital in
Memphis, Tennessee. After the surgery (Dr. Mark P. Clemons was the surgeon), Brett Spencer
Lovelace was transferred to the hospital’s PACU, where he suffered positional asphyxia and
respiratory arrest. Brett Spencer Lovelace suffered consequent brain swelling and anoxic brain
injury that resulted in brain death. He was pronounced dead on March 14, 2012. It is alleged
that a claim arose due to the acts or omissions of the intended recipient(s) of this letter, as no one
intervened to protect the child or issue orders for his safe resuscitation.

Attached hereto is a list of all health care providers to whom notice is being given pursuant to

T.C.A. §29-26-121(a). Additional information required by T.C.A. §29-26-121 is furnished to
you below.

(A) The full name and date of birth of the patient whose treatment is at issue:

Brett Spencer Lovelace, DOB: Quay.
Case 2:13-cv-02289-SHL-dkv Document 1-8 Filed 05/08/13 Page 31 0f53 PagelD 52

Letter to Babu Rao Paidipalli
Lovelace vs. Paidipalli
February 13, 2013

Page 2

(B) The name and address of the claimants authorizing the notice and the relationship to the
patient, if the notice is not sent by the patient:

Daniel and Helen Lovelace, SEE, Marion, AR, 72364, the parents of the
deceased minor, Brett Spencer Lovelace, are authorizing the issuance of this letter for the
purposes of providing notice, as required by T.C.A. §29-26-121.

(C) The name and address of the attorney sending the notice, if applicable:
Mark Ledbetter

254 Court Avenue, Suite 305
Memphis, TN 38103

(D) A list of the names and addresses of all providers being sent a notice:

Notice is being sent to:

 

 

 

Babu Rao Paidipalli Babu Rao Paidipalli

c/o Pediatric Anesthesiologists, P.A. c/o Le Bonheur East Surgery Center

50 North Dunlap Street 786 Estate Place

2™ Floor, Research Tower Memphis, TN 38120

Memphis, TN 38103

Pediatric Anesthesiologists, P.A. Donald E. Bourland

50 North Duniap Street Pediatric Anesthesiologists, P.A.

2™! Floor, Research Tower 5400 Poplar Avenue, Suite 100

Memphis, TN 38103 Memphis, TN 38119-3669
Registered Agent for Service of Process

Mark P. Clemons, M.D. Mark P. Clemons, M.D.

6616 Kirby Center Cove 228 West Tyler, Suite 100

Memphis, TN 38115 West Memphis, AR 72301

 

 

 

 

(E) A HIPAA complaint medical authorization permitting the provider receiving the notice to
obtain the complete medical records from each other provider being sent a notice.

An authorization is enclosed.
Case 2:13-cv-02289-SHL-dkv Document 1-8 Filed 05/08/13 Page 32 of 53 PagelD 53

Letter to Babu Rao Paidipalli
Lovelace vs. Paidipalli
February 13, 2013

Page 3

Pursuant to T.C.A. §29-26-121, this letter shall serve as written notice of this potential claim.

Sincerely yours,

Mark Ledbetter
PML/js

Enclosures: List pursuant to T.C.A. §29-26-121(a);
HIPPA Authorization
Case 2:13-cv-02289-SHL-dkv Document 1-8 Filed 05/08/13 Page 33 0f 53 PagelD 54

DEFENDANTS LIST FOR NOTICE

Pediatric Anesthesiologists, P.A.
50 North Dunlap Street,

2™ Floor, Research Tower
Memphis, TN 38103

Pediatric Anesthesiologists, P.A.,
Attn: Donald E. Bourland,

5400 Poplar Avenue, Suite 100,
Memphis, TN, 38119;

Babu Rao Paidpalli

c/o Pediatric Anesthesiologists, P.A.

50 North Dunlap Street,

2" Floor, Research Tower, Memphis, TN 38103

Babu Rao Paidipalli
c/o Le Bonheur East Surgery Center
786 Estate Place, Memphis, TN 38120

Mark P. Clemons, M.D.
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Memphis, TN, 38115

Mark P. Clemons, M.D.
228 West Tyler, Suite 100
West Memphis, AR 72301.
Case 2:13-cv-02289-SHL-dkv Document 1-8 Filed 05/08/13 Page 34 0f53 PagelD 55

Patient name:

AUTHORIZATION TO DISCLOSE
HEALTH INFORMATION

Brett Spencer Lovelace DOB: aaa

SSN: Sa

1. I authorize the use or disclosure of the above named individual’s health information as described below:

2. The following individual or organization is authorized to make the disclosure:

Pediatric Anesthesiologists, P.A.
50 North Dunlap Street

2" Floor, Research Tower
Memphis, TN 38103

Pediatric Anesthesiologists, P.A.
Attn: Donald E. Bourland

5400 Poplar Avenue, Suite 100
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Mark P. Clemons, M.D.
6616 Kirby Center Cove
Memphis, TN, 38115

Mark P. Clemons, M.D.
228 West Tyler, Suite 100
West Memphis, AR 72301

3. The type and amount of information to be used or disclosed is as follows: (include dates where
appropriate)

ALT

problem list

medication list

list of allergies

immunization record

most recent history and physical
most recent discharge summary
laboratory results

x-ray and imaging reports
Case 2:13-cv-02289-SHL-dkv Document 1-8 Filed 05/08/13 Page 350f53 PagelD 56

consultation reports

(all treating physicians/nurses and caretakers)
entire record

other: billing records

I understand that the information in my health record may include information relating to sexually
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(HIV). It may also include information about behavioral or mental health services, and treatment for
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Pediatric Anesthesiologists, P.A.
50 North Dunlap Street

2™ Floor, Research Tower
Memphis, TN 38103

Pediatric Anesthesiologists, P.A.
Attn: Donald E. Bourland

5400 Poplar Avenue, Suite 100
Memphis, TN, 38119

Babu Rao Paidpalli

c/o Pediatric Anesthesiologists, P.A.
30 North Dunlap Street

2™ Floor, Research Tower
Memphis, TN 38103

Babu Rao Paidipalli

c/o Le Bonheur East Surgery Center
786 Estate Place

Memphis, TN 38120

Mark P. Clemons, M.D.
6616 Kirby Center Cove
Memphis, TN, 38115

Mark P. Clemons, M.D.
228 West Tyler, Suite 100
West Memphis, AR 72301

I understand I have the right to revoke this authorization at any time. I understand if I revoke this
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management department. I understand the revocation will not apply to information that has already
been released in response to this authorization. I understand the revocation will not apply to my
insurance company when the law provides my insurer with the right to contest a claim under my policy.
Unless otherwise revoked, this authorization will expire on the following date, event or condition:

December 31, 2014. If I fail to specify an expiration date, event or condition, this authorization will
expire in six months.
Case 2:13-cv-02289-SHL-dkv Document 1-8 Filed 05/08/13 Page 36 of 53 PagelD 57

I understand that authorizing the disclosure of this health information is voluntary. I can refuse to sign
this authorization. I need not sign this form in order to assure treatment. I understand I may inspect or
copy the information to be used or disclosed, as provided in CFR 164.524. I understand any disclosure
of information carries with it the potential for an unauthorized re-disclosure and the information may
not be protected by federal confidentiality rules. If I have questions about disclosure of my health

information, I can contact (insert HIM director, privacy officer, or other office or individual’s name or
contact information.)

Nothing in this Authorization shall be construed as permitting the ex parte communication between
counsel for the Defendants and the healthcare providers of Brett Spencer Lovelace (Plaintififs’

Decedent, and Son) without the express permission and/or the participation of Helen Lovelace, Daniel
Lovelace, or their attorneys.

I hereby agree that a copy of this authorization form or facsimile shall have the same force and effect as
the original thereof.

Wb Sllee— / los [13

Helen Lovelace
Mother of Brett Spencer Lovelace

eee! Uwalen

Daniel Lovelace
Father of Brett Spencer Lovelace

 

“Signature of Witness

STATE OF TENNESSEE

COUNTY OF SHELBY

Xa
On this Ye day of January 2013, before me personally appeared Helen Lovelace and
Daniel Lovelace known to me to be the persons described herein and who executed the foregoing

Authorization to Release Medical Information and that they executed the same as their free act and

deed.

 
  

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Case 2:13-cv-02289-SHL-dkv Document 1-8 Filed 05/08/13 Page 37 0f 53 PagelD 58

     
 
   

 
 

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@ Complete items 1, 2, and 3. Also complete A. Signature.
item 4 if Restricted Delivery is desired. xOiprrl Aude 0 Agent

@ Print your name and address on the reverse 0) Addressee
so that we can return the card to you.

Attach this card to the back of the mailpiece, Wry y VViChots Qf 21 pee
or on the front if space permits. { Is

D. Is delivery address different from item 1? 1 Yes
1. Article Addressed to:

eb a If YES, enter delivery address below: 0 No
Wark P Clemons, Me
498 West Tyler St Ste 100

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Ol rtified Mail ent Mail
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4. Restricted Delivery? (Extra Fee) O Yes
2. Article Number

 

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Domestic Return Recelpt 102595-02-M-1540

 
Case 2:13-cv-02289-SHL-dkv Document 1-8 Filed 05/08/13 Page 38 of 53 PagelD 59

HALLIBURTON & LEDBETTER
ATTORNEYS AT LAW
254 COURT AVENUE - SUITE 305
MEMPHIS, TENNESSEE 38103

MARK LEDBETTER* (901) 523-8153 - Phone
*Licensed in Tennessee & Arkansas (901) 523-8115 - Fax

E-mail: mark794@ aol.com

January 23, 2013

SENT VIA CERTIFIED MAIL, RETURN RECEIPT REQUESTED

Mark P. Clemons, M.D.
228 West Tyler, Suite 100
West Memphis, AR 72301

RE: Possible Medical Malpractice Claim
Patient: Brett Spencer Lovelace
Surgery dated March 12, 2012

Dear Dr. Clemons:

Pursuant to T.C.A. §29-26-121, please be advised that I am the attorney representing Daniel and
Helen Lovelace, parents of Brett Spencer Lovelace, deceased. I am their authorized agent for
providing you this notice. Through me, Daniel and Helen Lovelace are asserting a potential
claim for medical malpractice of a health care liability action under T.C.A. § 29-26-115 against
Mark P. Clemons, M.D. Also, Daniel and Helen Lovelace each assert a potential claim for
negligent infliction of emotional distress (NIED) against Mark P. Clemons, M.D.

Brett Spencer Lovelace was a 12-year-old male child who underwent a tonsillectomy and
adenoidectomy (T&A), which was done under general endotracheal tube anesthesia (Babu Rao
Paidipalli was the anesthesiologist) on March 12, 2012, at LeBonheur Children’s Hospital in
Memphis, Tennessee. After the surgery (Dr. Mark P. Clemons was the surgeon), Brett Spencer
Lovelace was transferred to the hospital’s PACU, where he suffered positional asphyxia and
respiratory arrest. Brett Spencer Lovelace suffered consequent brain swelling and anoxic brain
injury that resulted in brain death. He was pronounced dead on March 14, 2012. It is alleged
that a claim arose due to the acts or omissions of the intended recipient(s) of this letter, as no one
intervened to protect the child or issue orders for his safe resuscitation.

Attached hereto is a list of all health care providers to whom notice is being given pursuant to

T.C.A. §29-26-121(a). Additional information required by T.C.A. §29-26-121 is furnished to
you below.

(A) The full name and date of birth of the patient whose treatment is at issue:

Brett Spencer Lovelace, DOB: agg.
Case 2:13-cv-02289-SHL-dkv Document 1-8 Filed 05/08/13 Page 39 of 53 PagelD 60

Letter to Mark P. Clemons
Lovelace vs. Mark P. Clemons
February 13, 2013

Page 2

(B) The name and address of the claimants authorizing the notice and the relationship to the
patient, if the notice is not sent by the patient:

Daniel and Helen Lovelace, QE, Marion, AR, 72364, the parents of the
deceased minor, Brett Spencer Lovelace, are authorizing the issuance of this letter for the
purposes of providing notice, as required by T.C.A. §29-26-121.

(C) The name and address of the attorney sending the notice, if applicable:

Mark Ledbetter
254 Court Avenue, Suite 305
Memphis, TN 38103

(D) A list of the names and addresses of all providers being sent a notice:

Notice is being sent to:

 

 

 

Babu Rao Paidipalli Babu Rao Paidipalli

c/o Pediatric Anesthesiologists, P.A. c/o Le Bonheur East Surgery Center

50 North Dunlap Street 786 Estate Place

2 F loor, Research Tower Memphis, TN 38120

Memphis, TN 38103

Pediatric Anesthesiologists, P.A. Donald E. Bourland

50 North Dunlap Street Pediatric Anesthesiologists, P.A.

2™ Floor, Research Tower 5400 Poplar Avenue, Suite 100

Memphis, TN 38103 Memphis, TN 38119-3669
Registered Agent for Service of Process

Mark P. Clemons, M.D. Mark P. Clemons, M.D.

6616 Kirby Center Cove 228 West Tyler, Suite 100

Memphis, TN 38115 West Memphis, AR 72301

 

 

 

 

(E) AHIPAA complaint medical authorization permitting the provider receiving the notice to
obtain the complete medical records from each other provider being sent a notice.

An authorization is enclosed.
Case 2:13-cv-02289-SHL-dkv Document 1-8 Filed 05/08/13 Page 40 of 53 PagelD 61

Letter lo Mark P. Clemons
Lovelace vs. Mark P. Clemons
February 13, 2013

Page 3

Pursuant to T.C.A. §29-26-121, this letter shall serve as written notice of this potential claim.

Sincerely yours,

Mark Ledbetter
PML/jp

Enclosures: List pursuant to T.C.A. §29-26-121(a);
Authorization
Case 2:13-cv-02289-SHL-dkv Document 1-8 Filed 05/08/13 Page 41 0f53 PagelD 62

DEFENDANTS LIST FOR NOTICE

Pediatric Anesthesiologists, P.A.
50 North Dunlap Street,

2"™ Floor, Research Tower
Memphis, TN 38103

Pediatric Anesthesiologists, P.A.,
Attn: Donald E. Bourland,

5400 Poplar Avenue, Suite 100,
Memphis, TN, 38119;

Babu Rao Paidpalli

c/o Pediatric Anesthesiologists, P.A.

50 North Dunlap Street,

2™ Floor, Research Tower, Memphis, TN 38103

Babu Rao Paidipalli
c/o Le Bonheur East Surgery Center
786 Estate Place, Memphis, TN 38120

Mark P. Clemons, M.D.
6616 Kirby Center Cove
Memphis, TN, 38115

Mark P. Clemons, M.D.
228 West Tyler, Suite 100
West Memphis, AR 72301.
Case 2:13-cv-02289-SHL-dkv Document 1-8 Filed 05/08/13 Page 42 of 53 PagelD 63

AUTHORIZATION TO DISCLOSE

 

HEALTH INFORMATION
Patient name: Brett Spencer Lovelace DOB: a= SSN: (ee
1. I authorize the use or disclosure of the above named individual’s health information as described below:
2. The following individual or organization is authorized to make the disclosure:

Pediatric Anesthesiologists, P.A.
50 North Dunlap Street

2™ Floor, Research Tower
Memphis, TN 38103

Pediatric Anesthesiologists, P.A.
Attn: Donald E. Bourland

5400 Poplar Avenue, Suite 100
Memphis, TN, 38119

Babu Rao Paidpalli

c/o Pediatric Anesthesiologists, P.A.
50 North Dunlap Street

2" Floor, Research Tower
Memphis, TN 38103

Babu Rao Paidipalli

c/o Le Bonheur East Surgery Center
786 Estate Place

Memphis, TN 38120

Mark P. Clemons, M.D.
6616 Kirby Center Cove
Memphis, TN, 38115

Mark P. Clemons, M.D.
228 West Tyler, Suite 100
West Memphis, AR 72301

3, The type and amount of information to be used or disclosed is as follows:

appropriate)

problem list

medication list

list of allergies

immunization record

most recent history and physical
most recent discharge summary
laboratory results

x-ray and imaging reports

AIL TTT |

(include dates where
Case 2:13-cv-02289-SHL-dkv Document 1-8 Filed 05/08/13 Page 43 0f 53 PagelD 64

consultation reports

(all treating physicians/nurses and caretakers)
entire record

other: billing records

I understand that the information in my health record may include information relating to sexually
transmitted disease, acquired immunodeficiency syndrome (AIDS), or human immunodeficiency virus

(HIV). It may also include information about behavioral or mental health services, and treatment for
alcohol and drug abuse.

This information may be disclosed to and used by the following individual or organization:

Pediatric Anesthesiologists, P.A.
50 North Dunlap Street

2"4 Floor, Research Tower
Memphis, TN 38103

Pediatric Anesthesiologists, P.A.
Attn: Donald E. Bourland

5400 Poplar Avenue, Suite 100
Memphis, TN, 38119

Babu Rao Paidpalli

c/o Pediatric Anesthesiologists, P.A.
50 North Dunlap Street

2™ Floor, Research Tower
Memphis, TN 38103

Babu Rao Paidipalli

c/o Le Bonheur East Surgery Center
786 Estate Place

Memphis, TN 38120

Mark P. Clemons, M.D.
6616 Kirby Center Cove
Memphis, TN, 38115

Mark P. Clemons, M.D.
228 West Tyler, Suite 100
West Memphis, AR 72301

I understand I have the right to revoke this authorization at any time. I understand if I revoke this
authorization I must do so in writing and present my written revocation to the health information
management department. I understand the revocation will not apply to information that has already
been released in response to this authorization. I understand the revocation will not apply to my
insurance company when the law provides my insurer with the right to contest a claim under my policy.
Unless otherwise revoked, this authorization will expire on the following date, event or condition:

December 31, 2014. If I fail to specify an expiration date, event or condition, this authorization will
expire in six months.
Case 2:13-cv-02289-SHL-dkv Document 1-8 Filed 05/08/13 Page 44 0f53 PagelD 65

7. I understand that authorizing the disclosure of this health information is voluntary. I can refuse to sign
this authorization. I need not sign this form in order to assure treatment. I understand I may inspect or
copy the information to be used or disclosed, as provided in CFR 164.524. I understand any disclosure
of information carries with it the potential for an unauthorized re-disclosure and the information may
not be protected by federal confidentiality rules. If | have questions about disclosure of my health

information, I can contact (insert HIM director, privacy officer, or other office or individual’s name or
contact information.)

8. Nothing in this Authorization shall be construed as permitting the ex parte communication between
counsel for the Defendants and the healthcare providers of Brett Spencer Lovelace (Plaintiffs’

Decedent, and Son) without the express permission and/or the participation of Helen Lovelace, Daniel
Lovelace, or their attorneys.

9. I hereby agree that a copy of this authorization form or facsimile shall have the same force and effect as
the original thereof.

Not) Aoldlace

Helen Lovelace
Mother of Brett Spencer Lovelace

Daniel Lovelace
Father of Brett Spencer Lovelace

 

 

STATE OF TENNESSEE

COUNTY OF SHELBY

rh
On this LS day of January 2013, before me personally appeared Helen Lovelace and
Daniel Lovelace known to me to be the persons described herein and who executed the foregoing

Authorization to Release Medical Information and that they executed the same as their free act and

deed.

 

My commission expires: i “-2IPO Gs.

 
Case 2:13-cv-02289-SHL-dkv Document 1-8 Filed 05/08/13 Page 45 o0f53 PagelD 66

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0 Insured Mail OC.0.D.
4. Restricted Delivery? (Extra Fee)

™ Complete items 1, 2, and 3. Also complete
item 4 if Restricted Delivery is desired.
@ Print your name and address on the reverse
so that we can return the card to you.
H@ Attach this card to the back of the mailpiece,
or on the front if space permits.

 
 

 

  

 

 

 

 

 

 

 

0 Yes
2. Article Number

(Transfer from service label) . 7ou? oro ooo4 4355 4S6h —i ral
PS Form 381 1, February 2004

 

Domestic Return Receipt 102595-02-M-1540
Case 2:13-cv-02289-SHL-dkv Document 1-8 Filed 05/08/13 Page 46 of 53 PagelD 67

HALLIBURTON & LEDBETTER
ATTORNEYS AT LAW
254 COURT AVENUE - SUITE 305
MEMPHIS, TENNESSEE 38103

MARK LEDBETTER* (901) 523-8153 - Phone
*Licensed in Tennessee & Arkansas (901) 523-8115 - Fax
E-mail: mark794@aol.com

February 13 2013

SENT VIA CERTIFIED MAIL, RETURN RECEIPT REQUESTED

Mark P. Clemons, M.D.
6616 Kirby Center Cove
Memphis, TN 38115

RE: Possible Medical Malpractice Claim
Patient: Brett Spencer Lovelace
Surgery dated March 12, 2012

Dear Dr. Clemons:

Pursuant to T.C.A. §29-26-121, please be advised that I am the attorney representing Daniel and
Helen Lovelace, parents of Brett Spencer Lovelace, deceased. I am their authorized agent for
providing you this notice. Through me, Daniel and Helen Lovelace are asserting a potential
claim for medical malpractice of a health care liability action under T.C.A. § 29-26-115 against
Mark P. Clemons, M.D. Also, Daniel and Helen Lovelace each assert a potential claim for
negligent infliction of emotional distress (NIED) against Mark P. Clemons, M.D.

Brett Spencer Lovelace was a 12-year-old male child who underwent a tonsillectomy and
adenoidectomy (T&A), which was done under general endotracheal tube anesthesia (Babu Rao
Paidipalli was the anesthesiologist) on March 12, 2012, at LeBonheur Children’s Hospital in
Memphis, Tennessee. After the surgery (Dr. Mark P. Clemons was the surgeon), Brett Spencer
Lovelace was transferred to the hospital’s PACU, where he suffered positional asphyxia and
respiratory arrest. Brett Spencer Lovelace suffered consequent brain swelling and anoxic brain
injury that resulted in brain death. He was pronounced dead on March 14, 2012. It is alleged
that a claim arose due to the acts or omissions of the intended recipient(s) of this letter, as no one
intervened to protect the child or issue orders for his safe resuscitation.

Attached hereto is a list of all health care providers to whom notice is being given pursuant to

T.C.A. §29-26-121(a). Additional information required by T.C.A. §29-26-121 is furnished to
you below.

(A) The full name and date of birth of the patient whose treatment is at issue:

Brett Spencer Lovelace, DOB: gga .
. Case 2:13-cv-02289-SHL-dkv Document 1-8 Filed 05/08/13 Page 47 of 53 PagelD 68

Letter to Mark P. Clemons
Lovelace vs. Mark P. Clemons
February 13, 2013

Page 2

(B) The name and address of the claimants authorizing the notice and the relationship to the
patient, if the notice is not sent by the patient:

Daniel and Helen Lovelace, SQEEaee, Marion, AR, 72364, the parents of the
deceased minor, Brett Spencer Lovelace, are authorizing the issuance of this letter for the
purposes of providing notice, as required by T.C.A. §29-26-121.

(C) The name and address of the attorney sending the notice, if applicable:

Mark Ledbetter
254 Court Avenue, Suite 305
Memphis, TN 38103

(D) A list of the names and addresses of all providers being sent a notice:

Notice is being sent to:

 

 

 

Babu Rao Paidipalli Babu Rao Paidipalli

c/o Pediatric Anesthesiologists, P.A. c/o Le Bonheur East Surgery Center

50 North Dunlap Street 786 Estate Place

2™ Floor, Research Tower Memphis, TN 38120

Memphis, TN 38103

Pediatric Anesthesiologists, P.A. Donald E. Bourland

50 North Dunlap Street Pediatric Anesthesiologists, P.A.

2™ Floor, Research Tower 5400 Poplar Avenue, Suite 100

Memphis, TN 38103 Memphis, TN 38119-3669
Registered Agent for Service of Process

Mark P. Clemons, M.D. Mark P. Clemons, M.D.

6616 Kirby Center Cove 228 West Tyler, Suite 100

Memphis, TN 38115 West Memphis, AR 72301

 

 

 

 

(E) A HIPAA complaint medical authorization permitting the provider receiving the notice to
obtain the complete medical records from each other provider being sent a notice.

An authorization is enclosed.
Case 2:13-cv-02289-SHL-dkv Document 1-8 Filed 05/08/13 Page 48 of 53 PagelD 69

Letler to Mark P. Cicmons
Lovelace vs. Mark P. Clemons
February 13, 2013

Page 3

Pursuant to T.C.A. §29-26-121, this letter shall serve as written notice of this potential claim.

Sincerely yours,

 

PML/js

Enclosures: List pursuant to T.C.A. §29-26-121(a);
Authorization
Case 2:13-cv-02289-SHL-dkv Document 1-8 Filed 05/08/13 Page 49 of 53 PagelD 70

DEFENDANTS LIST FOR NOTICE

Pediatric Anesthesiologists, P.A.
50 North Dunlap Street,

2" Floor, Research Tower
Memphis, TN 38103

Pediatric Anesthesiologists, P.A.,
Attn: Donald E. Bourland,

5400 Poplar Avenue, Suite 100,
Memphis, TN, 38119;

Babu Rao Paidpalli

c/o Pediatric Anesthesiologists, P.A.

50 North Dunlap Street,

2" Floor, Research Tower, Memphis, TN 38103

Babu Rao Paidipalli
c/o Le Bonheur East Surgery Center
786 Estate Place, Memphis, TN 38120

Mark P. Clemons, M.D.
6616 Kirby Center Cove
Memphis, TN, 38115

Mark P. Clemons, M.D.
228 West Tyler, Suite 100
West Memphis, AR 72301.
Case 2:13-cv-02289-SHL-dkv Document 1-8 Filed 05/08/13 Page 500f53 PagelD 71

Patient name:

AUTHORIZATION TO DISCLOSE
HEALTH INFORMATION

Brett Spencer Lovelace DOB: 4a

SSN: angle

1. L authorize the use or disclosure of the above named individual’s health information as described below:

2. The following individual or organization is authorized to make the disclosure:

Pediatric Anesthesiologists, P.A.
50 North Dunlap Street

2" Floor, Research Tower
Memphis, TN 38103

Pediatric Anesthesiologists, P.A.
Atm: Donald E. Bourland

5400 Poplar Avenue, Suite 100
Memphis, TN, 38119

Babu Rao Paidpalli

c/o Pediatric Anesthesiologists, P.A.
50 North Dunlap Street

2"! Floor, Research Tower
Memphis, TN 38103

Babu Rao Paidipalli

c/o Le Bonheur East Surgery Center
786 Estate Place

Memphis, TN 38120

Mark P. Clemons, M.D.
6616 Kirby Center Cove
Memphis, TN, 38115

Mark P. Clemons, M.D.
228 West Tyler, Suite 100
West Memphis, AR 72301

3. The type and amount of information to be used or disclosed is as follows: (include dates where
appropriate)

HIETTL

problem list

medication list

list of allergies

immunization record

most recent history and physical
most recent discharge summary
laboratory results

x-ray and imaging reports
Case 2:13-cv-02289-SHL-dkv Document 1-8 Filed 05/08/13 Page 510f53 PagelD 72

consultation reports

(all treating physicians/nurses and caretakers)
entire record

other: billing records

I understand that the information in my health record may include information relating to sexually
transmitted disease, acquired immunodeficiency syndrome (AIDS), or human immunodeficiency virus
(HIV). It may also include information about behavioral or mental health services, and treatment for
alcohol and drug abuse.

This information may be disclosed to and used by the following individual or organization:

Pediatric Anesthesiologists, P.A.
50 North Dunlap Street

2™ Floor, Research Tower
Memphis, TN 38103

Pediatric Anesthesiologists, P.A.
Attn: Donald E. Bourland

5400 Poplar Avenue, Suite 100
Memphis, TN, 38119

Babu Rao Paidpalli

c/o Pediatric Anesthesiologists, P.A.
50 North Dunlap Street

2" Floor, Research Tower
Memphis, TN 38103

Babu Rao Paidipalli

c/o Le Bonheur East Surgery Center
786 Estate Place

Memphis, TN 38120

Mark P. Clemons, M.D.
6616 Kirby Center Cove
Memphis, TN, 38115

Mark P. Clemons, M.D.
228 West Tyler, Suite 100
West Memphis, AR 72301

I understand I have the right to revoke this authorization at any time. I understand if I revoke this
authorization I must do so in writing and present my written revocation to the health information
management department. I understand the revocation will not apply to information that has already
been released in response to this authorization. I understand the revocation will not apply to my
insurance company when the law provides my insurer with the right to contest a claim under my policy.
Unless otherwise revoked, this authorization will expire on the following date, event or condition:

December 31, 2014. If I fail to specify an expiration date, event or condition, this authorization will
expire in six months.
Case 2:13-cv-02289-SHL-dkv Document 1-8 Filed 05/08/13 Page 52 0f53 PagelD 73

I understand that authorizing the disclosure of this health information is voluntary. I can refuse to sign
this authorization. I need not sign this form in order to assure treatment. I understand I may inspect or
copy the information to be used or disclosed, as provided in CFR 164.524. I understand any disclosure
of information carries with it the potential for an unauthorized re-disclosure and the information may
not be protected by federal confidentiality rules. If I have questions about disclosure of my health

information, I can contact (insert HIM director, privacy officer, or other office or individual’s name or
contact information.)

Nothing in this Authorization shall be construed as permitting the ex parte communication between
counsel for the Defendants and the healthcare providers of Brett Spencer Lovelace (Plaintiffs’

Decedent, and Son) without the express permission and/or the participation of Helen Lovelace, Daniel
Lovelace, or their attomeys.

I hereby agree that a copy of this authorization form or facsimile shall have the same force and effect as
the original thereof.

Mob Klee p Lif

Helen Lovelace " Date 7%
Mother of Brett Spencer Lovelace

Daniel Lovelace
Father of Brett Spencer Lovelace

   

Signatureof Witness

STATE OF TENNESSEE

COUNTY OF SHELBY

YK
On this a GF day of January 2013, before me personally appeared Helen Lovelace and
Daniel Lovelace known to me to be the persons described herein and who executed the foregoing

Authorization to Release Medical Information and that they executed the same as their free act and

deed.

   
  
 

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Case 2:13-cv-02289-SHL-dkv Document 1-8

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Filed 05/08/13 Page 53 0f53 PagelD 74 ys. postage
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PS Form 3877, June 2011 (Page 7 of 2)

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See Privacy Act Statement on Reverse
